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                           Lake Superior Court,document
                                                Civil Division 4
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                                                                                           Lake County, Indiana




STATE OF INDIANA                      )              IN THE LAKE ____________ COURT
                                      )SS:
COUNTY OF LAKE                        )

CRANE 1 HOLDCO, INC. and CRANE 1
SERVICES, INC.,

        Plaintiffs,
                                                    CAUSE NO.:
                vs.

CONTINENTAL INSURANCE COMPANY,
RSUI INDEMNITY COMPANY, CHAUCER
SYNDICATE NO. 1084 AT LLOYD’S,
AEGIS SYNDICATE NO. 1225 AT
LLOYD’S, AMLIN SYNDICATE NO. 2001
AT LLOYD’S, ATRIUM SYNDICATE NO.
609 AT LLOYD’S and ARK SYNDICATE
NO. 4020 AT LLOYD’S,

        Defendants.


       PLAINTIFFS CRANE 1 HOLDCO, INC.’S AND CRANE 1 SERVICES, INC.’s
                 COMPLAINT AND DEMAND FOR A JURY TRIAL

        Plaintiffs Crane 1 Holdco, Inc. and Crane 1 Services, Inc. (collectively, “Crane1” or

“Plaintiffs”), by and through their attorneys, hereby sue Defendants Continental Insurance

Company (“CNA”), RSUI Indemnity Company (“RSUI”), Chaucer Syndicate No. 1084 at

Lloyd’s (“Chaucer”), Aegis Syndicate No. 1225 at Lloyd’s (“Aegis”), Amlin Syndicate No.

2001 at Lloyd’s (“Amlin”), Atrium Syndicate No. 609 at Lloyd’s (“Atrium”), and Ark

Syndicate No. 1020 at Lloyd’s (“Ark”) (Chaucer, Aegis, Amlin, Atrium, and Ark are herein

collectively referred to as “Lloyd’s”) (collectively “Defendants”).

                          PARTIES, JURISDICTION, AND VENUE

  1.    Plaintiffs, Crane1, are both corporations currently organized under the laws of the

        State of Delaware, with their principal places of business located at 1027 Byers

        Rd., Miamisburg, Ohio 45342.


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 2.   Defendant CNA is a corporation organized under the laws of the State of

      Pennsylvania with its principal place of business located at 333 S Wabash Ave.,

      Chicago, Illinois 60606.

 3.   Defendant RSUI is a corporation organized under the laws of the State of New

      Hampshire with its principal place of business located at 945 East Paces Ferry

      Road, Atlanta, Georgia 30326.

 4.   Defendant Chaucer is a foreign corporation having its principal place of business

      in England.

 5.   Defendant Aegis is a foreign corporation having its principal place of business in

      England.

 6.   Defendant Amlin is a foreign corporation having its principal place of business in

      England.

 7.   Defendant Atrium is a foreign corporation having its principal place of business in

      England.

 8.   Defendant Ark is a foreign corporation having its principal place of business in

      England.

 9.   Crane1 conducts business in several states including the State of Indiana.

10.   This Court has personal jurisdiction over Defendants because they are insurance

      companies licensed and authorized to issue policies in the State of Indiana and

      because they contracted to insure risk located within the State of Indiana.

11.   Defendants have sufficient minimum contacts with the State of Indiana to render

      the exercise of personal jurisdiction over it by this Court consistent with traditional

      notions of fair play and substantial justice.




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12.   Venue is proper in Lake County as this is the county in which loss giving rise to

      this insurance coverage action is located.

                              FACTUAL ALLEGATIONS

13.   Crane1 is in the business of performing visual inspections of cranes for its

      customers.

                                 The Covered Loss

14.   On or around June 11, 2018, Mr. Robert Coppage and Ms. Sharon Coppage filed

      a lawsuit against Crane1 in the Lake Superior Court in the State of Indiana (the

      “Coppage Action”), alleging Mr. Coppage was injured on or around January 12,

      2017, while using a crane at Niagara LaSalle Corporation’s plant located at 1412

      E. 150th Street, Hammond, Indiana. The Coppage Action alleges that Crane1 was

      negligent in its modification, services, maintenance, inspection, and/or repair of

      that crane.

15.   Crane1 promptly tendered the Coppage Action to Travelers, CNA, RSUI and

      Lloyd’s requesting defense and indemnity.

                                     The Policies

16.   The Travelers Indemnity Company of America (“Travelers”) issued a primary

      general liability insurance policy to Crane1 bearing policy number Y-660-

      2G664063-TIA-16, with an effective policy period of October 7, 2016 to October 7,

      2017, with policy limits of $1,000,000 per occurrence and $2,000,000 in the

      aggregate, a true and correct copy of which is attached hereto as Exhibit A (the

      “Travelers Policy”). Travelers is providing Crane1 with insurance coverage for the

      Coppage Action and is not a defendant in this action.




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17.   CNA issued a first layer excess liability policy to Crane1, bearing policy number

      CUE 6020681315, with an effective policy period of October 7, 2016 to October 7,

      2017, with policy limits of $10,000,000 per occurrence and $10,000,000 in the

      aggregate, a true and correct copy of which is attached hereto as Exhibit B (the

      “CNA Policy”).

18.   RSUI issued a second layer excess liability to Crane1, bearing policy number

      NHA077232, with an effective policy period of October 7, 2016 to October 7, 2017,

      with policy limits of $20,000,000 per occurrence and $20,000,000 in the aggregate,

      a true and correct copy of which is attached hereto as Exhibit C (the “RSUI

      Policy”).

19.   Lloyd’s issued a professional liability insurance policy to Crane1, bearing policy

      number KPL 000-0473, with an effective policy period of October 7, 2017 to

      October 7, 2018, with policy limits of $2,000,000 each claim and $2,000,000 policy

      aggregate, a true and correct copy of which is attached hereto as Exhibit D (the

      “Lloyd’s Policy”).

20.   The Lloyd’s Policy has a $50,000 each claim deductible, inclusive of claims

      expenses.

21.   Plaintiffs are Named Insureds on the CNA Policy.

22.   Plaintiffs are Named Insureds on the RSUI Policy.

23.   Plaintiffs are Named Insureds on the Lloyd’s Policy.

24.   The CNA Policy provides coverage in excess of the Travelers Policy.

25.   The CNA Policy defines underlying insurance as “the policies of insurance listed in

      the Schedule of Underlying Insurance.”




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26.   The Travelers Policy is listed in the CNA Policy’s Schedule of Underlying

      Insurance, but the Lloyd’s Policy is not included in the CNA Policy’s Schedule of

      Underlying Insurance.

27.   Pursuant to the CNA Policy, CNA is obligated to pay “on behalf of the Insured those

      damages in excess of the applicable underlying limits,” which in this case is the

      Travelers Policy.

28.   The CNA Policy follows form to the coverage provided by the Travelers Policy,

      pursuant to the follow form language of the CNA Policy, and will “apply in

      conformance with the provisions of the applicable underlying insurance except for

      the premium, limits of insurance, deductible, retentions, or any defense obligations

      and any other terms and conditions specifically set forth in this Policy.”

29.   Pursuant to the CNA Policy, at CNA’s sole discretion, it may elect to participate in

      the investigation, settlement or defense of any claim against any of the Insureds

      for matters covered by this Policy even if the CNA Policy has not yet been triggered

      through the exhaustion of the applicable underlying limit.

30.   Pursuant to the CNA Policy, the CNA Policy excludes “any liability arising out of

      the actual or alleged rendering of, or failure to render, any professional services by

      the Insured or any other person for whose acts the Insured is legal responsible.”

31.   The RSUI Policy follows form to the CNA Policy and pursuant to the RSUI Policy,

      RSUI “will pay those sums in excess of the limits shown in Item 6 of the

      Declarations, Schedule of Underlying Insurance, that [Crane1] becomes legally

      obligated to pay as damages because of injury to which this insurance applies,




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      provided that the “Underlying Insurance” also applies, or would apply but for the

      exhaustion of its applicable Limits of Insurance.”

32.   The RSUI Policy defines “Underlying Insurance” as

                    the policies or self-insurance listed in the Schedule of
                    Underlying Insurance, any replacements thereof and other
                    policies purchased or issued for newly acquired or formed
                    organizations. Policies purchased or issued replacements of
                    policies or self-insurance listed in the Schedule of Underlying
                    Insurance or for newly acquired or formed organizations shall
                    not be more restrictive than those listed in the Schedule of
                    Underlying Insurance. All ‘Underlying Insurance’ shall be
                    maintained by you in accordance with Condition 2. of this
                    policy.

33.   The CNA Policy is included within Item 6 of the Declarations, Schedule of

      Underlying Insurance of the RSUI Policy.

34.   The RSUI Policy does not contain a standalone “professional services” exclusion.

35.   Pursuant to the Lloyd’s Policy, Lloyd’s is obligated to:

                    pay on behalf of the Insured all sums in excess of the
                    deductible that the Insured becomes legally obligated to pay
                    as damages and claim expenses as a result of a claim first
                    made against the Insured and reported in writing to the
                    Underwriters during the Certificate of Insurance period, by
                    reason of an act or omission including personal injury in the
                    performance of professional services by the Insured or by
                    someone for whom the Insured is legally responsible,
                    provided that:

                    1. Such act or omission was committed on or subsequent to
                       the retroactive date specified in Item 8. in the Declarations;
                       and

                    2. Prior to the inception date of this Certificate of Insurance,
                       no Insured had a basis to believe that any such act or
                       omission, or related act or omission, might reasonably be
                       expected to be the basis of a claim.

36.   Pursuant to the Lloyd’s Policy, there is no coverage under the Lloyd’s Policy for




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                    bodily injury or property damage unless the claim results
                    solely from an act or omission committed by the Insured in the
                    performance of professional services and there is no other
                    certificate applicable to such claim . . . The Named Insured as
                    a condition precedent to the obligations of the Underwriters
                    under this certificate agrees and warrants that comprehensive
                    general liability insurance, including products/completed
                    operations coverage and premises/operations liability
                    coverage, covering property damage in the same amount as
                    stated in Item 4. in the Declarations of this certificate applying
                    to the Named Insured's operations will be kept in force during
                    this certificate period.

37.   The Lloyd’s Policy defines “professional services,” as “Solely in the performance

      of crane inspections, safety compliance training, recommendations and consulting

      services for others for a fee.”

38.   Pursuant to the Lloyd’s Policy, the coverage afforded to Crane1 is “excess over

      any other valid and collectible insurance, self-insurance or indemnification

      agreement available to the Insured, whether such other insurance or

      indemnification agreement is stated to be primary, contributory, excess, contingent,

      self-insured or otherwise.”

                     The Defendants’ Adjustment of Crane1’s Claim

39.   On December 16, 2020, CNA issued its first reservation of rights letter to Crane1

      stating “consistent with the above-cited policy exclusion [Professional Services

      Exclusion], Continental reserves the right to disclaim coverage if it is determined

      that plaintiff’s claims against Crane 1 arise out of the rendering or failing to render

      professional services.”

40.   The CNA Policy does not define “professional services.”




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41.   On June 2, 2021, Lloyd’s issued a letter to Plaintiffs stating the Lloyd’s Policy “shall

      respond in excess coverage afforded to Crane 1 Services under its CGL policy

      issued by Travelers Indemnity.”

42.   On or around July 20, 2021, CNA issued a second reservation of rights letter to

      Crane1 again stating “consistent with the above-cited policy exclusion

      [Professional Services Exclusion], Continental reserves the right to disclaim

      coverage if it is determined that plaintiff’s claims against Crane 1 arise out the

      rendering or failing to render professional services.”

43.   On November 23, 2021, RSUI emailed Crane1 informing it, amongst other things,

      that “The RSUI excess policy follows form to the underlying CNA policy. That

      means the RSUI excess policy only provides coverage to the extent coverage is

      provided under the CNA excess policy” and “This is to let you know that RSUI

      reserves the right to disclaim coverage under the RSUI excess policy if it is

      determined that plaintiff’s claims against Crane 1 arise out of the rendering or

      failing to render professional services.”

44.   On January 25, 2022, CNA informed Crane1 that it had elected to participate in the

      defense of the Coppage Action and that it had retained Attorney Dominick

      Savaiano as defense counsel for Plaintiff Crane 1 Services, Inc. The January 25,

      2022 letter is attached as Exhibit E.

45.   Attorney Savaiano is currently defending Crane1 in the Coppage Action and is

      being paid by both Travelers and CNA.

46.   On January 25, 2022, RSUI informed Crane1, via letter, that it was supplementing

      RSUI’s previous coverage position and that RSUI was now denying coverage to




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      Crane1 for the Coppage Action. The January 25, 2022 letter is attached as Exhibit

      F.

47.   On February 11, 2022 Ms. Bonita Stone, on behalf of Crane1, informed RSUI that




                                                                 . The February 11, 2022

      letter is attached as Exhibit G.

48.   On February 15, 2022 Ms. Bonita Stone, on behalf of Crane1 informed CNA that




                                                                 . The February 15, 2022

      letter is attached as Exhibit H.

49.   On February 24, 2022, RSUI sent a letter to Crane1 reaffirming its denial of

      coverage and did not indicate if it would participate in the March 14, 2022

      mediation. The February 24, 2022 letter is attached at Exhibit I.

50.   On or around March 4, 2022, Crane1 received a letter from CNA stating it



                                   The March 4, 2022 letter is attached as Exhibit J.

51.   On March 14, 2022, the parties to the Coppage Action, including Crane1,

      Travelers, Lloyd’s, and CNA participated in a mediation.

52.   Despite Crane1’s request prior to and during the mediation that



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 53.   Throughout the handling of the Coppage Action, CNA asserted that the Travelers

       Policy and the Lloyd’s Policy must fully exhaust prior to CNA’s Policy being

       triggered.

 54.   On April 18, 2023, CNA emailed Crane1 amending its coverage position and

       asserted that




                                 (“CNA’s Denial”). The April 18, 2023 email is attached as

       Exhibit K.

 55.   CNA’s Denial did not contain any specific facts supporting CNA’s decision to

       change its coverage position and ultimately deny Crane1 coverage for the

       Coppage Action.


                                         COUNT I
                                Declaratory Judgment (CNA)

 56.   Crane1 repeats and re-alleges all of the allegations contained in Paragraphs 1

       through 55 as if fully set forth herein.

 57.   Pursuant to the terms of the CNA Policy, CNA is obligated to indemnify Crane1 in

       connection with the Coppage Action immediately following exhaustion of the

       Travelers Policy.

 58.   CNA and Crane1 dispute which policy(ies) are triggered immediately following

       exhaustion of the Travelers Policy.




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 59.   A dispute has arisen between Crane1 and CNA regarding the priority of coverage

       among the CNA Policy, the RSUI Policy, and the Lloyd’s Policy for the Coppage

       Action following exhaustion of the Travelers Policy.

 60.   A dispute has arisen between Crane1 and CNA regarding the coverage afforded

       by the CNA Policy to Crane1 for the Coppage Action.

 61.   An actual and justifiable controversy exists regarding CNA’s obligations under the

       CNA Policy with respect to indemnification of Crane1 in connection with the

       Coppage Action.

 62.   Crane1 is, and at all relevant times was, in compliance with all conditions

       precedent for coverage under the CNA Policy, or said conditions have been

       waived.

 63.   Pursuant to Trial Rule 57 and Indiana Code § 34-14-1-1 et seq., the Court should

       enter a declaratory judgment determining the scope of coverage and indemnity

       obligations owed by CNA to Crane1 in connection with the Coppage Action.

 64.   Crane1 is entitled to a declaration regarding its rights and other equitable and legal

       relations and interest arising under the CNA Policy, including but not limited to a

       declaration that the CNA Policy provides coverage to Crane1 for the Coppage

       Action immediately following exhaustion of the Travelers Policy.

                                       COUNT II
                              Declaratory Judgment (RSUI)

 65.   Crane1 repeats and re-alleges all of the allegations contained in Paragraphs 1

       through 55 as if fully set forth herein.




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 66.   Pursuant to the terms of the RSUI Policy, RSUI is obligated to indemnify Crane1

       in connection with the Coppage Action immediately following exhaustion of the

       Travelers Policy and the CNA Policy.

 67.   RSUI and Crane1 dispute the coverage provided by the RSUI policy for the

       Coppage Action and which policies are triggered immediately following exhaustion

       of the Travelers Policy and the CNA Policy.

 68.   A dispute has arisen between Crane1 and RSUI regarding the coverage afforded

       by the RSUI Policy to Crane1 for the Coppage Action.

 69.   An actual and justifiable controversy exists regarding RSUI’s obligations under the

       RSUI Policy with respect to indemnification of Crane1 in connection with the

       Coppage Action.

 70.   Crane1 is, and at all relevant times was, in compliance with all conditions

       precedent for coverage under the RSUI Policy, or said conditions have been

       waived.

 71.   Pursuant to Trial Rule 57 and Indiana Code § 34-14-1-1 et seq., the Court should

       enter a declaratory judgment determining the scope of coverage and indemnity

       obligations owed by RSUI to Crane1 in connection with the Coppage Action.

 72.   Crane1 is entitled to a declaration regarding its rights and other equitable and legal

       relations and interests arising under the RSUI Policy.

                                       COUNT III
                             Declaratory Judgment (Lloyd’s)

 73.   Crane1 repeats and re-alleges all of the allegations contained in Paragraphs 1

       through 55 as if fully set forth herein.




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 74.   CNA, RSUI, and Lloyd’s dispute which policy(ies) are triggered immediately

       following exhaustion of the Travelers Policy.

 75.   A dispute has arisen between Crane1, CNA, RSUI and Lloyd’s regarding the

       priority of coverage among the CNA Policy, the RSUI Policy, and the Lloyd’s Policy

       for the Coppage Action following exhaustion of the Travelers Policy.

 76.   An actual and justifiable controversy exists regarding Lloyd’s obligations under the

       Lloyd’s Policy with respect to indemnification of Crane1 in connection with the

       Coppage Action.

 77.   Crane1 is, and at all relevant times was, in compliance with all conditions

       precedent for coverage under the Lloyd’s Policy or said conditions have been

       waived.

 78.   Pursuant to Trial Rule 57 and Indiana Code § 34-14-1-1 et seq., the Court should

       enter a declaratory judgment determining the scope of coverage and indemnity

       obligations owed by Lloyd’s to Crane1 in connection with the Coppage Action.

 79.   Crane1 is entitled to a declaration regarding its rights and other equitable and legal

       relations and interests arising under the Lloyd’s Policy.

                                       COUNT IV
                            Breach of Contract Against CNA

 80.   Crane1 repeats and re-alleges all of the allegations contained in Paragraphs 1

       through 55 as if fully set forth herein.

 81.   Pursuant to the CNA Policy and incorporation of the insuring agreement from the

       underlying Travelers Policy, CNA promised to pay those sums that Crane1

       becomes legally obligated to pay because of bodily injury caused by an occurrence

       during the policy period.



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 82.   The Coppage Action constitutes a bodily injury claim caused by an occurrence

       during CNA’s policy period.

 83.   Crane1 is, and at all relevant times was, in compliance with all conditions

       precedent for coverage under the CNA Policy, or said conditions have been

       waived.

 84.   Crane1 demanded that CNA participate in the March 14, 2022 mediation

                                                                            .

 85.   CNA’s failure to                                       during the March 14, 2022

       mediation of the Coppage Action                               .

 86.   Subsequent to the mediation, CNA revised its coverage position and is now

       improperly denying coverage for the Coppage Action.

 87.   As a direct and proximate result of CNA’s breach(es), Crane1 has been damaged

       because



                                        .

                                       COUNT V
                            Breach of Contract Against RSUI

 88.   Crane1 repeats and re-alleges all of the allegations contained in Paragraphs 1

       through 55 as if fully set forth herein.

 89.   Pursuant to the RSUI Policy and incorporation of the insuring agreement from the

       underlying policy, RSUI promised to pay those sums that Crane1 becomes legally

       obligated to pay because of bodily injury caused by an occurrence during the policy

       period.




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 90.   The Coppage Action constitutes a bodily injury claim caused by an occurrence

       during RSUI’s policy period.

 91.   Crane1 is, and at all relevant times was, in compliance with all conditions

       precedent for coverage under the RSUI Policy, or said conditions have been

       waived.

 92.   Crane1 demanded that RSUI participate in the March 14, 2022 mediation

                                                                                    .

 93.   RSUI’s failure to participate in the March 14, 2022 mediation of the Coppage Action

                                                                            .

 94.   RSUI has improperly denied coverage for the Coppage Action despite the

       underlying insurers defending Crane1 in the Coppage Action.

 95.   As a direct and proximate result of RSUI’s breach(es), Crane1 has been damaged

       in that it



                                             .

                                      COUNT VI
         CNA’s Violation of the Implied Duty of Good Faith and Fair Dealing

 96.   Crane1 repeats and re-alleges all of the allegations contained in Paragraphs 1

       through 95 as if fully set forth herein.

 97.   The CNA Policy is a contract which contains an implied covenant of good faith and

       fair dealing requiring CNA to deal honestly and in good faith with Crane1.

 98.   In the Coppage Action, CNA acted in bad faith and violated the implied duty of

       good faith and fair dealing in the performance of its duties owed to Crane1

       including, but not limited to, its:



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          a. Failure to use reasonable skill and diligence in conducting an investigation

               of Crane1’s claim for coverage;

          b. Failure to properly take into consideration the proper application of the

               “professional services exclusion” as applied to the facts alleged in the

               Coppage Action;

          c. Failure to consider evidence supporting Crane1’s claim for coverage;

          d. Denial of coverage to Crane1 after agreeing to participate in Crane1’s

               defense when it knows there is no rational, principled basis to deny

               coverage;

          e. Failure to

                                                              ; and

          f. Putting its own financial interests ahead of its insured’s financial interests.


 99.   CNA's violations of Indiana’s Unfair Claim Settlement Practices statute, Indiana

       Code § 27-4-1-4.5 (“USCP”), while not a separate cause of action, are indicia of

       CNA‘s breach of its duty of good faith and fair dealing to Crane1. These include,

       but are not limited to, violations of Indiana Code § 27-4-1-4.5     , (7), and (14) as

       follows:

          a.




                                                          ;



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          b. Compelling Crane1 to institute litigation to recover amounts due under its

              insurance policy by improperly denying coverage and



                                           ; and

          c. Failing to promptly provide a reasonable explanation to Crane 1 for the

              change in CNA’s coverage position as it relates to the facts or applicable

              law.


                                     COUNT VII
        RSUI’s Violation of the Implied Duty of Good Faith and Fair Dealing

100.   Crane1 repeats and re-alleges all of the allegations contained in Paragraphs 1

       through 95 as if fully set forth herein.

101.   The RSUI Policy is a contract which contains an implicit covenant of good faith and

       fair dealing requiring RSUI to deal honestly and in good faith with Crane1.

102.   RSUI acted in bad faith and violated the implied duty of good faith and fair dealing

       in the performance of its duties owed to Crane1 including, but is not limited to, its:

          a. Failure to use reasonable skill and diligence in conducting an investigation

              of Crane1’s claim for coverage;

          b. Failure to properly take into consideration the proper application of CNA’s

              “professional services exclusion” as applied to the facts alleged in the

              Coppage Action;

          c. Failure to consider evidence supporting Crane1’s claim for coverage;

          d. Denial of coverage to Crane1 when it knows there is no rational, principled

              basis to deny coverage because the RSUI Policy provides follow form




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               coverage to the CNA Policy, and there is no standalone professional

               services exclusion on the RSUI Policy, despite the fact that the underlying

               insurers are defending Crane1 in the Coppage Action;

          e. Failure to

                                                              ; and

          f. Putting its own financial interests ahead of its insured’s financial interests.

103.   RSUI’s violations of Indiana’s USCP, while not a separate cause of action, are

       indicia of RSUI’s breach of its duty of good faith and fair dealing. These include,

       but are not limited to, violations of Indiana Code § 27-4-1-4.5     , (7), and (14) as

       follows:

          a.




                                                 ;

          b. Compelling Crane1 to institute litigation to recover amounts due under an

               insurance policy by improperly denying coverage and f



                                 ; and

          c. Failing to promptly provide a reasonable explanation to Crane1 of the basis

               in the insurance policy for its denial of coverage, where the underlying

               insurers are defending Crane1 in the Coppage Action.




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                                 PRAYER FOR RELIEF

   WHEREFORE, PLAINTIFFs pray for judgment against Defendants as follows:

        1.   A declaration that CNA is obligated to provide Crane1 with indemnification

             for the Coppage Action;

        2.   A declaration that RSUI is obligated to provide Crane1 with indemnification

             for the Coppage Action;

        3.   A declaration that Lloyd’s is obligated to provide Crane1 with indemnification

             for the Coppage Action;

        4.   A declaration determining the priority of coverage between the CNA Policy,

             the RSUI Policy, and the Lloyd’s Policy;

        5.   All compensatory damages;

        6.   Attorney’s fees and costs;

        7.   Pre-judgment and post-judgment interest as permitted by law;

        8.   Punitive damages; and

        9.   Such other relief, at law or in equity, to which Plaintiffs are justly entitled.


                                     JURY DEMAND

      Plaintiffs hereby demand a trial by jury on all issues so triable in this action.

Dated: May 16, 2023
                                           Respectfully submitted,

                                           /s/
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                                                    Civil Division                               334County, Indiana




                                                ENDORSEMENT NO. 3


    Named Insured: Crane 1 Services, Inc.

    Policy Effective Date: 10/07/17

    Policy Expiration Date: 10/07/18

                        This endorsement effective: 12:01 A.M. on 09/14/18 forms parts of

    Policy No: KPL 000-0473

                                              Amendatory Endorsement

  In consideration of the premium shown below, it is hereby understood and agreed this
  endorsement is attached to and forms part of the above policy and is effective as shown
  above. This endorsement amends only the changes which are indicated by check in the
  box immediately preceding such change:
       Policy is                                                     Endorsement No (Fill in ) is null and void

   x   Item(s) listed below are amended to the policy schedule.      Description of item(s) is amended to show below

       Name of Insured is amended as shown below                     Limit of Liability is as shown below

       Insured mailing address is amended as shown below.            Policy Reinstated

       Policy term is amended to : (Dates)                           Other, as shown below



  It is hereby understood and agreed that the following form is amended as per the attached document.

  Form: KPL 005 - Additional Named Insured w/ Retro - See Attached

  All other terms and conditions remain unchanged




Breakdown




 Date Issued: 9/25/18
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THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:


ERRORS AND OMISSIONS CERTIFICATE

In consideration of the premium charged, it is understood and agreed that the persons or entities named
below shall be added as additional Named Insureds under this certificate. It is further understood and
agreed that for each entity listed below, such coverage as would be afforded by this certificate shall only
apply where the act or omission took place, or is alleged to have taken place, after the date indicated by
the name of the entity, if applicable.


Name of persons or entities:

Crane 1 Holdco, Inc.
Crane 1 Holdings, L.L.C.
Crane Services and Inspections LLC (CSI) - 01/27/17
Formerly known as Absolute Crane Services, Inc and/or Lupo Investments, Inc. -07/20/18
Formerly known as Mt. Clemens Crane & Service Co. -09/14/18




All other provisions of this certificate remain unchanged.




THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
CERTIFICATE IS WRITTEN.




KPL 005 (10/12)                                                               Additional Named Insured


                                                                                            EXHIBIT 1
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    Named Insured: Crane 1 Services, Inc.

    Policy Effective Date: 10/07/17

    Policy Expiration Date: 10/07/18

                        This endorsement effective: 12:01 A.M. on 07/20/18 forms parts of

    Policy No: KPL 000-0473

                                              Amendatory Endorsement

  In consideration of the premium shown below, it is hereby understood and agreed this
  endorsement is attached to and forms part of the above policy and is effective as shown
  above. This endorsement amends only the changes which are indicated by check in the
  box immediately preceding such change:
       Policy is                                                     Endorsement No (Fill in ) is null and void

   x   Item(s) listed below are amended to the policy schedule.      Description of item(s) is amended to show below

       Name of Insured is amended as shown below                     Limit of Liability is as shown below

       Insured mailing address is amended as shown below.            Policy Reinstated

       Policy term is amended to : (Dates)                           Other, as shown below



  It is hereby understood and agreed that the following form is amended as per the attached document.

  Form: KPL 005 - Additional Named Insured w/ Retro - See Attached

  All other terms and conditions remain unchanged




Breakdown




 Date Issued: 9/25/18
                                                                                                        EXHIBIT 1
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THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:


ERRORS AND OMISSIONS CERTIFICATE

In consideration of the premium charged, it is understood and agreed that the persons or entities named
below shall be added as additional Named Insureds under this certificate. It is further understood and
agreed that for each entity listed below, such coverage as would be afforded by this certificate shall only
apply where the act or omission took place, or is alleged to have taken place, after the date indicated by
the name of the entity, if applicable.


Name of persons or entities:

Crane 1 Holdco, Inc.
Crane 1 Holdings, L.L.C.
Crane Services and Inspections LLC (CSI) - 01/27/17
Formerly known as Absolute Crane Services, Inc and/or Lupo Investments, Inc. -07/20/18




All other provisions of this certificate remain unchanged.




THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
CERTIFICATE IS WRITTEN.




KPL 005 (10/12)                                                               Additional Named Insured


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                                               ENDORSEMENT NO. 1

    Named Insured: Crane 1 Services, Inc.

    Policy Effective Date: 10/07/17

    Policy Expiration Date: 10/07/18

                         This endorsement effective: 12:01 A.M. on 10/07/17 forms parts
                         of
    Policy No: KPL 000-0473

                                              Amendatory Endorsement

  In consideration of the premium shown below, it is hereby understood and agreed this
  endorsement is attached to and forms part of the above policy and is effective as shown
  above. This endorsement amends only the changes which are indicated by check in the
  box immediately preceding such change:
       Policy is                                                     Endorsement No (Fill in ) is null and void

       Item(s) listed below are amended to the policy schedule.      Description of item(s) is amended to show below

       Name of Insured is amended as shown below                     Limit of Liability is as shown below

    x Insured mailing address is amended as shown below.             Policy Reinstated

       Policy term is amended to : (Dates)                           Other, as shown below



  It is hereby understood and agreed that Item #2, of the Declarations page is amended to read
   as follows:

  Item 2.          ADDRESS: 1027 Byers Rd
                            Miamisburg, OH 45342



  All other terms and conditions remain unchanged




Breakdown




 Date Issued: 10/09/17
                                                                                                        EXHIBIT 1
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                                                    Underwritten by certain underwriters at Lloyd’s,
                                                                as listed on the attached schedule.


               ERRORS AND OMISSIONS DECLARATIONS
 THIS IS BOTH A CLAIMS MADE AND REPORTED CERTIFICATE OF INSURANCE. PLEASE READ
 IT CAREFULLY.

 PRODUCER: RLA Insurance Intermediaries                       POLICY NUMBER:           KPL 000-0473
                                                              RENEWAL OF:              KPL 000-0353

 AUTHORITY REFERENCE NUMBER: B0868PFDBA1702674

 THIS CERTIFICATE APPLIES ONLY TO THOSE CLAIMS THAT ARE FIRST MADE AGAINST THE
 INSURED AND REPORTED IN WRITING TO THE UNDERWRITERS VIA THEIR AUTHORIZED
 REPRESENTATIVE DURING THE CERTIFICATE PERIOD. CLAIM EXPENSES ARE WITHIN AND
 REDUCE THE LIMIT OF LIABILITY. PLEASE REVIEW THIS CERTIFICATE CAREFULLY.

 Item 1.     NAMED INSURED:
             Crane 1 Services, Inc.

 Item 2.     ADDRESS:
             550 Conover Dr.
             Franklin, OH 45005-1953
 Item 3.     PERIOD:             FROM: 07-Oct-2017                        TO: 07-Oct-2018

             12:01 A.M. Standard Time at the address of the Named Insured as stated herein.

 Item 4.     LIMITS OF LIABILITY (Inclusive of claims expenses):
              $2,000,000        Each Claim
               $2,000,000       Policy Aggregate
 Item 5.     DEDUCTIBLE (Inclusive of claims expenses):
             a. $50,000             Each Claim
             b. N/A                 Aggregate
 Item 6.     NON-TERRORISM PREMIUM:
             TERRORISM PREMIUM:
             TOTAL CERTIFICATE PREMIUM:                                  + CERTIFICATE FEE:
 Item 7.     PROFESSIONAL SERVICES:

             Solely in the performance of crane inspections, safety compliance training,
             recommendations and consulting services for others for a fee.

                                                                                        Declarations Page
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   USDC IN/ND case 2:23-cv-00205-PPS-JEM document 4 filed 05/16/23 page 299 of 334
Item 8.        RETROACTIVE DATE: March 14, 2008
Item 9.        ENDORSEMENTS ATTACHED AT CERTIFICATE EFFECTIVE DATE:
               See attached forms schedule

DATE: 04-Oct-2017




                                                                                  Tom Nash
                                                                             Coverholder Signature




  ”The insurance hereby evidenced is written by an approved non-licensed insurer in the State of Ohio and is not
  covered in case of insolvency by the Ohio Insurance Guaranty Association.”




                                                                                           Declarations Page

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                                   Schedule of Forms
    Named Insured:       Crane 1 Services, Inc.

    Policy Number:       KPL 000-0473

                                     Lloyd’s of London
    Form Name                                                Form Edition No
    E&O Declarations Page                                    E&O Dec Page
    Schedule of Forms                                        Forms List
    E&O Policy Form                                          KPL 001
    Applicable Law                                           KPL 085
    Cancellation Clause                                      KPL 088
    Minimum Earned Premium Form                              KPL 090
    Nuclear Incident Exclusion                               KPL 060
    Radioactive Contamination                                KPL 092
    Service of Suit                                          KPL 068
    Several Liability Form                                   KPL 069
    Surplus Lines Notice                                     SL Notice
    War and Terrorism                                        KPL 076
    Lloyds Syndicate List                                    Line Slip
    Additional Named Insured with Retro                      KPL 005
    Additional Insured Form                                  KPL 023
    Contingent BI PD Endt                                    KPL 042
    Mold Exclusion                                           KPL 058
    World Wide Endt                                          KPL 020
    Amended Hammer                                           KPL 107
    Manuscript #1- Amended PD to include "clean- up costs"   KPL 10 82
    Manuscript #2- Final Adjudication                        KPL 10 83
    Manuscript #3- Amended Contractual Liability             KPL 10 84
    Manuscript #4- Matches expiring BI/PD language           KPL 10 85
    Manuscript #5- 60 Day Notice of Cancellation             KPL 11 11




    KPL 079 (10/12)                           Page 1 of 1                   Schedule of Forms
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                                                             Underwritten by Certain Underwriters at Lloyd’s




     CERTIFICATE OF INSURANCE
     ERRORS AND OMISSIONS

     THIS IS A CLAIMS MADE AND REPORTED CERTIFICATE OF INSURANCE. THIS
     CERTIFICATE OF INSURANCE APPLIES ONLY TO THOSE CLAIMS THAT ARE FIRST
     MADE AGAINST THE INSURED AND REPORTED IN WRITING TO THE UNDERWRITERS
     DURING THE CERTIFICATE OF INSURANCE PERIOD. CLAIM EXPENSES ARE WITHIN
     AND REDUCE THE LIMIT OF LIABILITY. PLEASE REVIEW THIS CERTIFICATE OF
     INSURANCE CAREFULLY.

     Words and phrases that appear in bold print have special meanings that are defined in Section
     III., DEFINITIONS.

     I.   INSURING AGREEMENTS

          A. Coverage

              The Underwriters will pay on behalf of the Insured all sums in excess of the
              deductible that the Insured becomes legally obligated to pay as damages and
              claim expenses as a result of a claim first made against the Insured and
              reported in writing to the Underwriters during the Certificate of Insurance
              period, by reason of an act or omission including personal injury in the
              performance of professional services by the Insured or by someone for whom
              the Insured is legally responsible, provided that:

              1. Such act or omission was committed on or subsequent to the
                 retroactive date specified in Item 8. in the Declarations; and
              2. Prior to the inception date of this Certificate of Insurance, no Insured had a
                 basis to believe that any such act or omission, or related act or omission,
                 might reasonably be expected to be the basis of a claim.

          B. Defense

              The Underwriters have the right and duty to defend any claim against the
              Insured seeking damages payable under this Certificate of Insurance even if
              any of the allegations of the claim are groundless, false or fraudulent. Defense
              counsel may be designated by the Underwriters or, at the Underwriters’
              option, by the Insured with the Underwriters’ written consent and subject to the
              Underwriters’ guidelines.

          C. Settlement

              The Underwriters will have the right to make, with the written consent of the
              Named Insured, any settlement of a claim under this Certificate of Insurance. If


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       the Named Insured refuses to consent to a settlement within the Certificate of
       Insurance's applicable limit of liability that is recommended by the Underwriters
       and acceptable to the claimant, then the Underwriters’ limit of liability under this
       Certificate of Insurance will be reduced to the amount of damages for which the
       claim could have been settled plus all claim expenses incurred up to the time
       the Underwriters made its recommendation, which amount will not exceed the
       remainder of the limit of liability specified in Section II. A., Limit of Liability - Each
       Claim.

   D. Exhaustion Of Limits
       The Underwriters is not obligated to pay any damages or claim expenses or
       to defend or continue to defend any claim after the applicable limit of liability has
       been exhausted by the payment of damages or claim expenses or any
       combination thereof; or after the Underwriters has deposited the remaining
       available limit of liability into a court of competent jurisdiction or tendered the
       remaining available limit of liability to the Named Insured or, if applicable, to the
       excess insurer(s) of the Named Insured.
II. LIMITS OF LIABILITY AND DEDUCTIBLE

   A. Limit of Liability - Each Claim
       Subject to paragraph B. below, the Underwriters' limit of liability for damages
       and claim expenses for each claim first made and reported in writing to the
       Underwriters during the Certificate of Insurance period will not exceed the
       amount shown in Item 4. in the Declarations for "Each Claim.".

   B. Limit of Liability - Certificate of Insurance Aggregate

       The Underwriters’ limit of liability for damages and claim expenses for all
       claims first made and reported in writing to the Underwriters during the
       Certificate of Insurance period will not exceed the aggregate amount shown in
       Item 4. in the Declarations as the "Certificate of Insurance Aggregate".

   C. Deductible
       The deductible amount shown in Item 5. in the Declarations is the Insured's
       obligation for each claim and applies to the payment of damages and claim
       expenses. The deductible will be paid by the Named Insured. The limits of
       liability set forth in the Declarations are in addition to and in excess of the
       deductible.

   D. Multiple Insureds, Claims and Claimants
       The limits of liability shown in the Declarations is the maximum amount the
       Underwriters will pay under this Certificate of Insurance for damages and
       claim expenses regardless of the number of Insureds, claims made or
       claimants. Related claims made against the Insured will be considered a single
       claim first made during the Certificate of Insurance period in which the earliest
       of the related claims was first made.



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   E. Supplementary Payments

       Supplementary payments are not subject to the deductible and are in addition to
       the limits of liability.
       The Underwriters will pay up to $250.00 for loss of earnings to the Insured for
       each day or part of a day the Insured is in attendance, at the Underwriters’
       request, at a trial, hearing or arbitration proceeding involving a claim against the
       Insured. In no event shall the amount payable hereunder exceed $5,000 per
       Certificate of Insurance period.


III. DEFINITIONS

   Bodily injury means physical injury, sickness or disease sustained by any person
   including death resulting from any of these at any time. Bodily injury also means
   mental illness, mental anguish, or emotional distress, pain or suffering, or shock
   sustained by that person, whether or not resulting from physical injury, sickness,
   disease or death of any person.
   Claim means a demand for money or services naming the Insured arising out of an
   act or omission in the performance of professional services. A claim also includes
   the service of suit or the institution of an arbitration proceeding against the Insured.
   Claim expenses means:
   1. Fees charged by attorneys designated by the Underwriters or designated by
      the Insured with the Underwriters’ prior written consent;

   2. All other reasonable and necessary fees, costs and expenses resulting from the
      investigation, adjustment, negotiation, arbitration, mediation, defense or appeal
      of a claim, if incurred by the Underwriters or by the Insured with the
      Underwriters’ prior written consent; and

   3. Premiums on appeal bonds, attachment bonds or similar bonds however, the
      Underwriters are not obligated to apply for or furnish any such bond.

   Claim expenses will be paid first and will reduce the limit of liability available to pay
   damages. Claim expenses do not include fees, costs or expenses of employees or
   officers of the Underwriters, or salaries, loss of earnings or other remuneration by
   or to any Insured.

   Underwriters means Certain Underwriters at Lloyd’s named in the Declarations.

   Damages means any compensatory sum and includes a judgment, award or
   settlement, provided any settlement is negotiated with the Underwriters' written
   consent, and prejudgment interest awarded against the Insured on that part of the
   judgment the Underwriters offers to pay. If the Underwriters make an offer to pay
   the applicable limits of liability, it will not pay any prejudgment interest based on that
   period of time after the offer.
   Damages do not include:


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   1. The return, reduction or restitution of fees, expenses or costs for professional
      services performed or to be performed by the Insured;

   2. Fines, penalties, forfeitures, or sanctions;
   3. Punitive or exemplary amounts;
   4. The multiplied portion of any multiplied awards;

   5. Injunctive or declaratory relief.
   Insured means the Named Insured and any of the persons or entities listed below
   but only while in the performance of professional services on behalf of the Named
   Insured for clients of the Named Insured:

   1. Any subsidiary or newly acquired subsidiary;

   2. Any present or former partner, member, officer, director or employee of the
      Named Insured, a subsidiary or a newly acquired subsidiary;
   3. Independent contractors but only for professional services performed on behalf
      and at the direction of the Named Insured and the Named Insured has agreed
      to provide insurance for the independent contractor's professional services;

   4. The estate, heirs, executors, administrators assigns and legal representatives of
      an Insured in the event of such Insured's death, incapacity, insolvency or
      bankruptcy, but only to the extent that such Insured would have been provided
      coverage under this Certificate of Insurance.


Named Insured means the persons or entities specified in Item 1. in the Declarations.
   Newly acquired subsidiary means any entity newly formed or acquired by the
   Named Insured during the Certificate of Insurance period in which the Named
   Insured has more than 50% of the legal or beneficial interest, but only upon the
   conditions that:
   1. Within 60 days of such formation or acquisition, the Named Insured has
      provided the Underwriters with full particulars of such newly acquired
      subsidiary and the Underwriters has agreed in writing to insure such newly
      acquired subsidiary, but the Underwriters shall not be required to insure such
      newly acquired subsidiary;

   2. The Named Insured has paid the additional premium, if any, charged by the
      Underwriters and has agreed to any amendment of the provisions of this
      Certificate of Insurance; and
   3. The Underwriters will only provide coverage with respect to a claim arising out
      of an act or omission in the performance of professional services when the act
      or omission is committed on or after the date such newly acquired subsidiary
      became a newly acquired subsidiary and prior to the date such newly
      acquired subsidiary ceased to be a newly acquired subsidiary. An entity


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       ceases to be a newly acquired subsidiary under this Certificate of Insurance
       on the date during the Certificate of Insurance period that the Named
       Insured's legal or beneficial interest in such entity becomes less than 50%.

   Personal injury means injury other than bodily injury arising out of one or more of
   the following offenses by reason of an act or omission in the performance of
   professional services:
   1. False arrest, detention or imprisonment;

   2. Malicious prosecution;
   3. The wrongful eviction from, wrongful entry into, or invasion of the right of private
      occupancy of a room, dwelling or premises that a person occupies by or on
      behalf of its owner, landlord or lessor;

   4. The publication or utterance of a libel or slander or other defamatory or
      disparaging statement or material, or a publication or utterance in violation of a
      person’s right of privacy; except publications or utterances in the course of,
      which arise out of, result from or relate to advertising, broadcasting or telecasting
      activities conducted by or on behalf of any Insured.
   Certificate of Insurance period means the period of time from the effective date
   shown in Item 3. in the Declarations to the earliest of the date of termination,
   expiration or cancellation of this Certificate of Insurance.

   Pollutants mean any solid, liquid, gaseous or thermal irritant or contaminant,
   including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste
   includes materials to be recycled, reconditioned or reclaimed.

   Property damage means:

   1. Physical Injury to tangible property, including all resulting loss of use of that
      property; or
   2. Loss of use of tangible property that is not physically injured.
   Professional services means those services specified in Item 7. in the Declarations
   performed by an Insured for others for a fee.
   Related acts or omissions mean all acts or omissions in the performance of
   professional services that are reasonably connected by any common fact,
   circumstance, situation, transaction, event, advice, or decision.

   Related claims means all claims arising out of a single act or omission or related
   acts or omissions in the performance of professional services.
   Retroactive date means the date shown in Item 8. in the Declarations, on or after
   which an act or omission must have been committed for coverage under this
   Certificate of Insurance to apply.
   Subsidiary means any entity of which the Named Insured owns, either legally or
   beneficially, more than a 50% interest in such entity. On the date during the Certificate


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   of Insurance period that the Named Insured's legal or beneficial ownership interest
   in such entity becomes less than 50%, such entity will cease to be a subsidiary under
   this Certificate of Insurance. In such event, coverage will be provided under this
   Certificate of Insurance, but only with respect to acts or omissions committed prior to
   such date in accordance with all other terms and conditions of this Certificate of
   Insurance. No coverage will be afforded under this Certificate of Insurance with
   respect to claims made against an Insured based on any act or omission that was
   committed on or subsequent to such date.


IV. EXCLUSIONS
   This Certificate of Insurance does not apply to any claim:
   A. Based on or arising out of any dishonest, intentionally wrongful, fraudulent,
      criminal or malicious act or omission by an Insured. The Underwriters will
      provide the Insured with a defense of such claim and pay claim expenses for
      any such suit which is brought alleging such act or omission unless or until the
      dishonest, intentionally wrongful, fraudulent, criminal or malicious act or
      omission has been determined, found or adjudicated by or in any trial verdict,
      court or arbitration ruling, regulatory ruling or legal admission, whether appealed
      or not. Such defense will not waive any of the Underwriters' rights under this
      Certificate of Insurance. Criminal proceedings are not covered under this
      Certificate of Insurance regardless of the allegations made against the Insured;

       Whenever coverage under this Certificate of Insurance would be excluded under
       Exclusion A because of dishonest, fraudulent, criminal or malicious acts or
       omissions, the Underwriters agrees that such insurance as would otherwise be
       afforded under this Certificate of Insurance, will be applicable with respect to
       those Insureds who did not personally participate or personally acquiesce in or
       remain passive after having knowledge of such conduct. Each Insured must
       promptly comply with all provisions of this Certificate of Insurance upon learning
       of any concealment.

   B. Based on or arising out of bodily injury or property damage;
   C. Based on or arising out of discrimination, humiliation, harassment, or misconduct
      including but not limited to claims based on an individual’s race, creed, color,
      age, gender, national origin, religion, disability, marital status or sexual
      preference. The Underwriters will provide the Insured with a defense of such
      claim and pay claim expenses for any suit which is brought alleging such
      discrimination as a single allegation in a multiple allegation suit, provided any
      one allegation is covered under this Certificate of Insurance;
   D. Based on or arising out of professional services performed by any entity not
      named in Item 1. in the Declarations if at the time of the act or omission giving
      rise to such claim:

       1. Any Insured controlled, owned, operated or managed such entity; or

       2. Any Insured was an owner, partner, member, director, officer or employee of
          such entity.


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        For the purposes of this exclusion, a 10% or more ownership of a publicly held
        corporation or a 30% or more ownership of a privately held corporation shall be
        deemed to control or own such entity;
   E. By or on behalf of an Insured under this Certificate of Insurance against any
      other Insured hereunder;
   F. Based on or arising out of actual or alleged violation of:
        1. The Employee Retirement Income Security Act of 1974;
        2. The Securities Act of 1933;
        3. The Securities Exchange Act of 1934;
        4. Any state Blue Sky or Securities law;
        or any rules, regulations or amendments issued in relation to such acts, or any
        similar state or federal statutes or regulations, including any claim based upon
        common law principles of liability;
   G. Based on or arising out of, whether suddenly or over a long period of time:
        1. The actual, alleged or threatened emission, discharge, dispersal, seepage,
           release or escape of pollutants; or

        2. Any injury, damage, payments, costs or expense incurred as a result of any
           testing for, monitoring, removal, containment, treatment, detoxification,
           neutralization or cleanup of pollutants.

   H. Based on or arising out of liability of others assumed by the Insured under any
      contract or agreement, unless such liability would have attached to the Insured
      even in the absence of such contract or agreement;
   I.   Based on or arising out of the gaining of any personal profit or advantage to
        which the Insured is not legally entitled;

   J. Based on or arising out of any anti-trust law violation or any agreement or
      conspiracy to restrain trade;

   K. Based on, arising out of or related to actual or alleged misappropriation of ideas,
      information or materials; infringement of copyright, title or slogan; improper
      gaining or misuse of confidential or proprietary information, materials or trade
      secrets; interference with actual or prospective business relationships, contracts
      or contractual relationships; or unfair competition.

V. CONDITIONS

   A. Reporting of Claims and Potential Claims:
        1. The Insured, as a condition precedent to the obligations of the
           Underwriters under this Certificate of Insurance, will give written notice to

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          the Underwriters as soon as reasonably possible during the Certificate of
          Insurance period of any claim made against the Insured.

          The Underwriters further agrees that the Insured may have up to, but not to
          exceed, 60 days after the Certificate of Insurance expiration to report in
          writing to the Underwriters a claim made against the Insured during the
          Certificate of Insurance period, if the reporting of such claim is as soon as
          reasonably possible.
       2. If during the Certificate of Insurance period, any Insured becomes aware
          of any act or omission which may reasonably be expected to be the basis of
          a claim against any Insured, including but not limited to any notice, advice
          or threat, whether written or verbal, that any person or entity intends to hold
          the Insured responsible for any alleged act or omission and gives written
          notice to the Underwriters with all available particulars, including:
          a. The specific act or omission;
          b. The dates and persons involved;
          c. The identity of anticipated or possible claimants;
          d. The circumstances by which the Insured first became aware of the
             possible claim; and
          e. Potential damages or injury;
          then any claim that is subsequently made against the Insured arising out of
          such act or omission will be deemed to have been made on the date such
          written notice was received by the Underwriters. Said documents and
          information should be mailed to the Underwriters at the following address:
          Edward T. Smith
          Mendes & Mount, LLP
          750 Seventh Avenue
          New York, NY 10019

   B. Assistance and Cooperation
       1. The Insured will cooperate with the Underwriters and upon the
          Underwriters’ request, attend hearings, depositions and trials and assist in
          effecting settlements, securing and giving evidence, obtaining the
          attendance of witnesses and in the conduct of suits and proceedings in
          connection with a claim.

       2. The Insured will assist in the enforcement of any right of contribution or
          indemnity against any person or organization who or which may be liable to
          any Insured in connection with a claim.

       3. The Insured will not, except at the Insured's own cost, voluntarily make any
          payment, assume or admit any liability or incur any expense without the prior
          written consent of the Underwriters.
   C. Action against the Underwriters


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       1. No action may be brought against the Underwriters unless, as a condition
          precedent thereto:

          a. The Insured has fully complied with all the terms of this Certificate of
             Insurance; and
          b. Until the amount of the lnsured's obligation to pay has been finally
             determined either by judgment against the Insured after actual trial and
             appeal or by written agreement of the Insured, the claimant and the
             Underwriters.
       2. Nothing contained in this Certificate of Insurance will give any person or
          organization the right to join the Underwriters as a defendant or co-
          defendant or other party in any action against the Insured to determine the
          Insured's liability.
   D. Bankruptcy

       Bankruptcy or insolvency of the Insured or of the lnsured's estate will not
       relieve the Underwriters of any of its obligations hereunder.

   E. Other Insurance
       This Certificate of Insurance is excess over any other valid and collectible
       insurance, self-insurance or indemnification agreement available to the Insured,
       whether such other insurance or indemnification agreement is stated to be
       primary, contributory, excess, contingent, self-insured or otherwise.

   F. Subrogation
       In the event of any payment for any claim under this Certificate of Insurance, the
       Underwriters will be subrogated in the amount of such payment to all the
       lnsured's rights of recovery against any person or organization. The Insured
       will execute and deliver instruments and papers and do whatever else is
       necessary to secure such rights. The Insured will do nothing to prejudice such
       rights.
   G. Changes
       Notice to any agent of the Underwriters or knowledge possessed by any such
       agent or by any other person will not effect a waiver or a change in any part of
       this Certificate of Insurance, and will not prevent or preclude the Underwriters
       from asserting or invoking any right or provision of this Certificate of Insurance.
       None of the provisions of this Certificate of Insurance will be waived, changed or
       modified except by a written endorsement issued by the Underwriters to form a
       part of this Certificate of Insurance.
   H. Cancellation/Nonrenewal

       1. This Certificate of Insurance may be cancelled by the Named Insured by
          returning it to the Underwriters. The Named Insured may also cancel this



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            Certificate of Insurance by giving written notice to the Underwriters stating
            at what future date cancellation is to be effective.

        2. The Underwriters may cancel or nonrenew this Certificate of Insurance by
           sending written notice to the Named Insured at the address last known to
           the Underwriters. The Underwriters will provide written notice at least 60
           days before cancellation or nonrenewal is to be effective. However, if the
           Underwriters cancels this Certificate of Insurance because the Insured has
           failed to pay a premium when due, this Certificate of Insurance may be
           canceled by the Underwriters by mailing to the Named Insured written
           notice stating when, not less than 10 days thereafter, such cancellation will
           be effective. The time of surrender of the Certificate of Insurance or the
           effective date and hour of cancellation stated in the notice will become the
           end of the Certificate of Insurance period. Delivery of such written notice
           either by the Named Insured or by the Underwriters will be equivalent to
           mailing.
        3. If the Underwriters cancel this Certificate of Insurance, the earned premium
           will be computed pro rata. If the Named Insured cancels this Certificate of
           Insurance, the Underwriters will retain the customary short rate proportion
           of the premium. Premium adjustment may be made either at the time
           cancellation is effected or as soon as practicable after cancellation becomes
           effective, but payment or tender of unearned premium is not a condition of
           cancellation.

        4. The offering of terms and conditions different from the expiring terms and
           conditions, including limits of liability, deductible or premium, shall not
           constitute a refusal to renew or a cancellation of this Certificate of Insurance.

   I.   Territory

        This Certificate of Insurance applies to an act or omission taking place anywhere
        in the world provided that any suit is brought against the Insured within the
        United States of America, its territories or possessions, Puerto Rico or Canada.

   J. Named Insured Sole Agent

        The Named Insured will be the sole agent and will act on behalf of all Insureds
         for the purpose of giving or receiving any notices, any amendments to or
         cancellation of this Certificate of Insurance, for the completing of any
         applications and the making of any statements, representations and warranties,
         for the payment of any premium and the receipt of any return premium that may
         become due under this Certificate of Insurance, for the payment of the
         deductible and the exercising or declining to exercise any right under this
         Certificate of Insurance including the purchase of an extended reporting
         period.

   K. Entire Contract
        By acceptance of this Certificate of Insurance the Insured warrants that:
        1. All of the information and statements provided to the Underwriters by the
           Insured, including but not limited to, the application and any supplemental


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          information, are true, accurate and complete and will be deemed to
          constitute material representations made by the Insured;

       2. This Certificate of Insurance is issued in reliance upon the Insured's
          representations;
       3. This Certificate of Insurance, endorsements thereto, together with the
          completed and signed application and any and all supplementary information
          and statements provided by the Insured to the Underwriters (all of which
          are attached hereto and deemed to be incorporated herein) embody all of
          the agreements existing between the Insured and the Underwriters and
          shall constitute the entire contract between the Insured and the
          Underwriters; and
       4. Any material misrepresentation or concealment by the Insured or the
          Insured's agent will render the Certificate of Insurance null and void and
          relieve the Underwriters from all liability herein.


   L. Notices

       Any notices required to be given by the Insured will be submitted in writing to
       the Underwriters or its authorized representative at the address specified in the
       Declarations. If mailed, the date of mailing of such notice will be deemed to be
       the date such notice was given and proof of mailing will be sufficient proof of
       notice.
   M. Assignment

       No assignment of interest of the Insured under this Certificate of Insurance is
       valid, unless the Underwriters’ written consent is endorsed hereon.

VI. EXTENDED REPORTING PERIODS

   Extended reporting period means the period of time after the end of the
   Certificate of Insurance period for reporting claims to the Underwriters that are
   made against the Insured during the applicable extended reporting period by
   reason of an act or omission, which was committed prior to the end of the
   Certificate of Insurance period and on or subsequent to the retroactive date, and
   is otherwise covered by this Certificate of Insurance.

   A. Automatic Extended Reporting Period
       If this Certificate of Insurance is cancelled or nonrenewed by either the
       Underwriters or by the Named Insured, the Underwriters will provide to the
       Named Insured an automatic, noncancelable extended reporting period
       starting at the termination of the Certificate of Insurance period if the Named
       Insured has not obtained another Certificate of Insurance of errors and
       omissions insurance within sixty (60) days of the termination of the Certificate
       of Insurance period. This automatic extended reporting period will terminate
       after sixty (60) days.


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   B. Optional Extended Reporting Period

       1. If this Certificate of Insurance is cancelled or nonrenewed by either the
          Underwriters or by the Named Insured, then the Named Insured will have
          the right to purchase an optional extended reporting period of one or two
          years. Such right must be exercised by the Named Insured within sixty (60)
          days of the termination of the Certificate of Insurance period by providing:
          a. Written notice to the Underwriters; and
          b. With the written notice, the amount of additional premium described
             below.
       2. The additional premium for the optional extended reporting period will be:

          a. For a one (1) year extended reporting period, 100% of the annual
             premium for the Certificate of Insurance; or
          b. For a two (2) year extended reporting period, 200% of the annual
             premium for the Certificate of Insurance.

       3. The first sixty (60) days of the optional extended reporting period, if it is
          purchased, shall run concurrently with the automatic extended reporting
          period.

   C. Extended Reporting Period Limits of Liability
       The limit of liability of the Underwriters for all claims reported during the
       automatic and optional extended reporting periods will be part of and not in
       addition to the limits of liability for the Certificate of Insurance period set forth
       in Item 4. in the Declarations.
   D. Elimination of Right to Any Extended Reporting Period

       There is no right to any extended reporting period if the Underwriters cancels
       or refuses to renew this Certificate of Insurance due to:
       1. Nonpayment of amounts due under this Certificate of Insurance;
       2. Noncompliance by the Insured with any of the terms and conditions of this
          Certificate of Insurance;

       3. Any material misrepresentation or omission in the application or the
          supplementary information and statements provided by the Insured for this
          Certificate of Insurance.

   E. Extended Reporting Period - Not a New Certificate of Insurance
       The extended reporting period will not be construed to be a new Certificate of
       Insurance and any claim submitted during such period will otherwise be
       governed by this Certificate of Insurance.



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                          APPLICABLE LAW (U.S.A.)



     This Insurance shall be subject to the applicable state law to be determined by
     the court of competent jurisdiction as determined by the provisions of the Service
     of Suit Clause (U.S.A.)




     LMA5021




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                                  CANCELLATION CLAUSE


Notwithstanding anything contained in this Insurance to the contrary this Insurance may
be cancelled by the Assured at any time by written notice or by surrender of this
contract of Insurance. This insurance may also be cancelled by or on behalf of the
Underwriters by delivering to the Assured or by mailing to the Assured by registered,
certified or other first class mail, at the Assured's address as shown in this Insurance,
written notice stating when, not less than 10 days thereafter, the cancellation shall be
effective. The mailing of such notice as aforesaid shall be sufficient proof of notice and
this Insurance shall terminate at the date and hour specified in such notice.

If this Insurance shall be cancelled by the Assured the Underwriters shall retain the
customary short rate proportion of the premium hereon, except that if this Insurance is
on an adjustable basis the Underwriters shall receive the earned premium hereon or the
customary short rate proportion of any minimum premium stipulated herein whichever is
the greater.

If this Insurance shall be cancelled by or on behalf of the Underwriters the Underwriters
shall retain the pro rata proportion of the premium hereon, except that if this Insurance
is on an adjustable basis the Underwriters shall receive the earned premium hereon or
the pro rata proportion of any minimum premium stipulated herein whichever is the
greater.

Payment or tender of any unearned premium by the Underwriters shall not be a
condition precedent to the effectiveness of Cancellation but such payment shall be
made as soon as practicable.

If the period of limitation relating to the giving of notice is prohibited or made void by any
law controlling the construction thereof, such period shall be deemed to be amended so
as to be equal to the minimum period of limitation permitted by such law.

NMA1331




KPL 088 (10/12)                                                           Cancellation Clause
                                                                                           EXHIBIT 1
USDC IN/ND case 2:23-cv-00205-PPS-JEM document 4 filed 05/16/23 page 315 of 334




                     MINIMUM EARNED PREMIUM ENDORSEMENT

   If this policy is canceled, the Underwriters shall retain an earned premium of not less
   than 25.0000 % of total premium charged, which is hereby declared to be the minimum
   earned premium for this policy.

   It is further agreed that a cancellation request for non-payment of premium shall be
   deemed a request by the named insured for cancellation of this policy, and the
   foregoing minimum earned premium provision shall apply.




   KPL 090 (10/12)                                          Minimum Earned Premium Endorsement
                                                                                   EXHIBIT 1
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                NUCLEAR INCIDENT EXCLUSION CLAUSE-LIABILITY-DIRECT (BROAD) (U.S.A.)


       For attachment to insurances of the following classifications in the U.S.A., its Territories and
       Possessions, Puerto Rico and the Canal Zone:

                  Owners, Landlords and Tenants Liability, Contractual Liability, Elevator Liability, Owners
                  or Contractors (including railroad) Protective Liability, Manufacturers and Contractors
                  Liability, Product Liability, Professional and Malpractice Liability, Storekeepers Liability,
                  Garage Liability, Automobile Liability (including Massachusetts Motor Vehicle or Garage
                  Liability),

       not being insurances of the classifications to which the Nuclear Incident Exclusion Clause-
       Liability-Direct (Limited) applies.

       This Policy* does not apply:

           I.         Under any Liability Coverage, to injury, sickness, disease, death or destruction:

                      (a) with respect to which an insured under the Policy is also an insured under a
                          nuclear energy liability policy issued by Nuclear Energy Liability Insurance
                          Association, Mutual Atomic Energy Liability Underwriters or Nuclear Insurance
                          Association of Canada, or would be an insured under any such policy but for its
                          termination upon exhaustion of its limit of liability; or

                      (b) resulting from the hazardous properties of nuclear material and with respect to
                          which (1) any person or organization is required to maintain financial protection
                          pursuant to the Atomic Energy Act of 1954, or any law amendatory thereof, or (2)
                          the insured is, or had this Policy not been issued would be, entitled to indemnity
                          from the United States of America, or any agency thereof, under any agreement
                          entered into by the United States of America, or any agency thereof, with any
                          person or organization.

           II.        Under any Medical Payments Coverage, or under any Supplementary Payments
                      Provision relating to immediate medical or surgical relief, to expenses incurred with
                      respect to bodily injury, sickness, disease or death resulting from the hazardous
                      properties of nuclear material and arising out of the operation of a nuclear facility by
                      any person or organization.

           III.       Under any Liability Coverage, to injury, sickness, disease, death or destruction
                      resulting from the hazardous properties of nuclear material, if:

                      (a) the nuclear material (1) is at any nuclear facility owned by, or operated by or on
                          behalf of, an insured or (2) has been discharged or dispersed therefrom;

                      (b) the nuclear material is contained in spent fuel or waste at any time possessed,
                          handled, used, processed, stored, transported or disposed of by or on behalf of
                          an insured; or




       KPL 060 (10/12)                                                                    Nuclear Incident Excl
                                                                                                      EXHIBIT 1
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                (c) the injury, sickness, disease, death or destruction arises out of the furnishing by
                    an insured of services, materials, parts or equipment in connection with the
                    planning, construction, maintenance, operation or use of any nuclear facility, but
                    if such facility is located within the United States of America, its territories or
                    possessions or Canada, this exclusion (c) applies only to injury to or destruction
                    of property at such nuclear facility.

       IV.      As used in this endorsement:

                "hazardous properties" include radioactive, toxic or explosive properties; "nuclear
                material" means source material, special nuclear material or by-product material;
                "source material", "special nuclear material", and "by-product material" have the
                meanings given them in the Atomic Energy Act 1954 or in any law amendatory
                thereof; "spent fuel" means any fuel element or fuel component, solid or liquid, which
                has been used or exposed to radiation in a nuclear reactor; "waste" means any waste
                material (1) containing by-product material and (2) resulting from the operation by
                any person or organization of any nuclear facility included within the definition of
                nuclear facility under paragraph (a) or (b) thereof; "nuclear facility" means:

                (a) any nuclear reactor,

                (b) any equipment or device designed or used for (1) separating the isotopes of
                    uranium or plutonium, (2) processing or utilizing spent fuel, or (3) handling,
                    processing or packaging waste,

                (c) any equipment or device used for the processing, fabricating or alloying of
                    special nuclear material if at any time the total amount of such material in the
                    custody of the insured at the premises where such equipment or device is
                    located consists of or contains more than 25 grams of plutonium or uranium 233
                    or any combination thereof, or more than 250 grams of uranium 235,

                (d) any structure, basin, excavation, premises or place prepared or used for the
                    storage or disposal of waste,

                and includes the site on which any of the foregoing is located, all operations
                conducted on such site and all premises used for such operations; "nuclear reactor"
                means any apparatus designed or used to sustain nuclear fission in a self-supporting
                chain reaction or to contain a critical mass of fissionable material. With respect to
                injury to or destruction of property, the word "injury" or "destruction" includes all forms
                of radioactive contamination of property.

   It is understood and agreed that, except as specifically provided in the foregoing to the contrary,
   this clause is subject to the terms, exclusions, conditions and limitations of the Policy to which it is
   attached.

   * NOTE: As respects policies which afford liability coverages and other forms of coverage in
   addition, the words underlined should be amended to designate the liability coverage to which
   this clause is to apply.


   17/3/60
   NMA1256




   KPL 060 (10/12)                                                                  Nuclear Incident Excl


                                                                                                   EXHIBIT 1
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        RADIOACTIVE CONTAMINATION EXCLUSION CLAUSE-LIABILITY-DIRECT
                                  (U.S.A.)


    For attachment (in addition to the appropriate Nuclear Incident Exclusion Clause-
    Liability-Direct) to liability insurances affording worldwide coverage.

    In relation to liability arising outside the U.S.A., its Territories or Possessions, Puerto
    Rico or the Canal Zone, this Policy does not cover any liability of whatsoever nature
    directly or indirectly caused by or contributed to by or arising from ionizing radiations or
    contamination by radioactivity from any nuclear fuel or from any nuclear waste from the
    combustion of nuclear fuel.


    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY




    13/2/64
    NMA1477




    KPL 092 (10/12)                                                   Radioactive Contamination Excl
                                                                                         EXHIBIT 1
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                           SERVICE OF SUIT CLAUSE (U.S.A.)

  This Service of Suit Clause will not be read to conflict with or override the obligations of
  the parties to arbitrate their disputes as provided for in any Arbitration provision within
  this Policy. This Clause is intended as an aid to compelling arbitration or enforcing such
  arbitration or arbitral award, not as an alternative to such Arbitration provision for
  resolving disputes arising out of this contract of insurance (or reinsurance).

  It is agreed that in the event of the failure of the Underwriters hereon to pay any amount
  claimed to be due hereunder, the Underwriters hereon, at the request of the Insured (or
  Reinsured), will submit to the jurisdiction of a Court of competent jurisdiction within the
  United States. Nothing in this Clause constitutes or should be understood to constitute a
  waiver of Underwriters' rights to commence an action in any Court of competent
  jurisdiction in the United States, to remove an action to a United States District Court, or
  to seek a transfer of a case to another Court as permitted by the laws of the United
  States or of any State in the United States.

  It is further agreed that service of process in such suit may be made upon:
  Mendes & Mount, LLP
  750 Seventh Avenue
  New York, NY 10019

  and that in any suit instituted against anyone of them upon this contract, Underwriters
  will abide by the final decision of such Court or of any Appellate Court in the event of an
  appeal.

  The above-named are authorized and directed to accept service of process on behalf of
  Underwriters in any such suit and/or upon the request of the Insured (or Reinsured) to
  give a written undertaking to the Insured (or Reinsured) that they will enter a general
  appearance upon Underwriters' behalf in the event such a suit shall be instituted.

  Further, pursuant to any statute of any state, territory or district of the United States
  which makes provision therefore, Underwriters hereon hereby designate the
  Superintendent, Commissioner or Director of Insurance or other officer specified for that
  purpose in the statute, or his successor or successors in office, as their true and lawful
  attorney upon whom may be served any lawful process in any action, suit or proceeding
  instituted by or on behalf of the Insured (or Reinsured) or any beneficiary hereunder
  arising out of this contract of insurance (or reinsurance), and hereby designate the
  above-named as the person to whom the said officer is authorized to mail such process
  or a true copy thereof.


  LMA5020


  KPL 068 (10/12)                                                               Service of Suit
                                                                                      EXHIBIT 1
USDC IN/ND case 2:23-cv-00205-PPS-JEM document 4 filed 05/16/23 page 320 of 334




                                     SEVERAL LIABILITY NOTICE


       The subscribing insurers' obligations under contracts of insurance to which they
       subscribe are several and not joint and are limited solely to the extent of their individual
       subscriptions. The subscribing insurers are not responsible for the subscription of any
       co-subscribing insurer who for any reason does not satisfy all or part of its obligations.


       08/94
       LSW1001 (Insurance)




       KPL 069 (10/12)                                                    Several Liability Endorsement
                                                                                             EXHIBIT 1
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                                 Notice: Surplus Lines Tax Filings




For non-admitted business placed on or after July 21, 2011 accounts with multi-state risks, we
will require the taxes to be filed in the insured’s home state.

The “home state” is



   (i)     The state in which an insured maintains its principle place of business or, in the case
           of an individual, the individual’s principle residence; or


   (ii)    if 100% of the insured’s risk is located out of the State referred to in (i), the State to
           which the greatest percentage of the insured’s taxable premium for the insurance
           contract is allocated.




Please be aware that self-procurements are never acceptable where Lloyds of London is
concerned. Policies filed by “self-procurement” will necessarily be cancelled.



Furthermore, only surplus lines licenses will be accepted as proof of filing despite the fact that
some states will apparently accept tax monies filed under a P&C broker license.



Please consider how your surplus lines taxes will be lawfully filed before requesting a binder
and provide the appropriate filer’s information along with your request to bind.




KPL 096 (10/12)                                                                   Surplus Lines Notice


                                                                                                  EXHIBIT 1
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                   WAR AND TERRORISM EXCLUSION ENDORSEMENT

Notwithstanding any provision to the contrary within this insurance or any endorsement thereto
it is agreed that this insurance excludes loss, damage, cost or expense of whatsoever nature
directly or indirectly caused by, resulting from or in connection with any of the following
regardless of any other cause or event contributing concurrently or in any other sequence to the
loss;

1.     war, invasion, acts of foreign enemies, hostilities or warlike operations (whether war be
       declared or not), civil war, rebellion, revolution, insurrection, civil commotion assuming
       the proportions of or amounting to an uprising, military or usurped power; or

2.     any act of terrorism.

For the purpose of this endorsement an act of terrorism means an act, including but not limited
to the use of force or violence and/or the threat thereof, of any person or group(s) of persons,
whether acting alone or on behalf of or in connection with any organisation(s) or government(s),
committed for political, religious, ideological or similar purposes including the intention to
influence any government and/or to put the public, or any section of the public, in fear.

This endorsement also excludes loss, damage, cost or expense of whatsoever nature directly or
indirectly caused by, resulting from or in connection with any action taken in controlling,
preventing, suppressing or in any way relating to 1 and/or 2 above.

If the Underwriters allege that by reason of this exclusion, any loss, damage, cost or expense is
not covered by this insurance the burden of proving the contrary shall be upon the Assured.
In the event any portion of this endorsement is found to be invalid or unenforceable, the
remainder shall remain in full force and effect.

08/10/01
NMA2918




KPL 076 (10/12)                                                                 War and Terrorism
                                                                                        EXHIBIT 1
USDC IN/ND case 2:23-cv-00205-PPS-JEM document 4 filed 05/16/23 page 323 of 334




                                B0868PFDBA1702674
        ATTACHING TO AND FORMING PART OF BINDING AUTHORITY AGREEMENT




       SCHEDULE OF LLOYD’S UNDERWRITERS PARTICIPATING HEREON:



                 38%          Chaucer Syndicate No. 1084 (CSL)

                 20%          Aegis Syndicate No. 1225 (AES)

                 20%          Amlin Syndicate No. 2001 (AML)

                 14%          Atrium Syndicate No. 609 (AUW)

                  8%          Ark Syndicate No. 4020 (ARK)
                100%




       KPL 077 (10/12)                                           Syndicate Line Slip (MPL)
                                                                                 EXHIBIT 1
USDC IN/ND case 2:23-cv-00205-PPS-JEM document 4 filed 05/16/23 page 324 of 334




THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:


ERRORS AND OMISSIONS CERTIFICATE

In consideration of the premium charged, it is understood and agreed that the persons or entities named
below shall be added as additional Named Insureds under this certificate. It is further understood and
agreed that for each entity listed below, such coverage as would be afforded by this certificate shall only
apply where the act or omission took place, or is alleged to have taken place, after the date indicated by
the name of the entity, if applicable.


Name of persons or entities: Crane 1 Holdco, Inc.
                             Crane 1 Holdings, L.L.C.
                             Crane Services and Inspections LLC (CSI) - 01/27/17


All other provisions of this certificate remain unchanged.




THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
CERTIFICATE IS WRITTEN.




KPL 005 (10/12)                                                               Additional Named Insured


                                                                                            EXHIBIT 1
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 THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT CAREFULLY.

 This endorsement modifies insurance provided under the following:


 ERRORS AND OMISSIONS CERTIFICATE

 In consideration of the premium charged, it is understood and agreed that the persons or entities named below
 shall be added as additional Insureds under this certificate, but only as respects their liability for a Named
 Insured's acts or omissions.

 Name of persons or entities: RNM Holdings, Inc.




 It is further understood and agreed that this endorsement shall not serve to increase the Underwriters's limit of
 liability.

 All other provisions of this certificate remain unchanged.




THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
IS WRITTEN.




 KPL 023 (10/12)                                                                            Additional Insured


                                                                                                   EXHIBIT 1
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 THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT CAREFULLY.
 This endorsement modifies insurance provided under the following:

 ERRORS AND OMISSIONS CERTIFICATE

 In consideration of the premium charged, it is understood and agreed that EXCLUSION B. of this
 certificate is deleted in its entirety and replaced with the following:

 B. Based on or arising out of bodily injury or property damage unless the claim results solely from
    an act or omission committed by the Insured in the performance of professional services and
    there is no other certificate applicable to such claim.

 It is further understood and agreed that the following EXCLUSIONS are added to this certificate:

 Based on or arising out of the ownership, maintenance, operation, use, entrustment to others, loading,
 or unloading of any motor vehicle, aircraft or watercraft, operated, rented or loaned to any Insured;

 Based on or arising out of any act or omission for which any Insured could be held liable under any
 workers compensation, unemployment compensation or disability benefits law or under any similar law;

 The Named Insured as a condition precedent to the obligations of the Underwriters under this
 certificate agrees and warrants that comprehensive general liability insurance, including
 products/completed operations coverage and premises/operations liability coverage, covering property
 damage in the same amount as stated in Item 4. in the Declarations of this certificate applying to the
 Named Insured's operations will be kept in force during this certificate period.

 All other provisions of this certificate remain unchanged.




 THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
 CERTIFICATE IS WRITTEN.




 KPL 042 (10/12)                                                                 Contingent BI/PD Endt


                                                                                          EXHIBIT 1
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                             ORGANIC PATHOGEN EXCLUSION
      This certificate does not apply to any claim, damages, or claim expenses, based on,
      arising out of, or related to any:

      1.     Bodily injury, property damage, personal injury, or any other loss, liability or
             liability arising out of any:

             a.         “Organic pathogen”;

             b.         Material, product, building, building component, or structure that contains,
                        harbors, nurtures, or acts as a medium for any “organic pathogen”; or

             c.         Solid or liquid substance, vapor, fume or gas arising from or generated by
                        any “organic pathogen”;

             nor do the Underwriters have any duty to defend any claim, suit, action, demand,
             arbitration, or alternative dispute resolution arising from or contributed to, directly
             or indirectly by any of the above.

      2.     Loss, cost or expense incurred by any person or entity (including any
             governmental organization) to test for, monitor, remove, abate, mitigate,
             remediate, dispose of, treat or in any way respond to the actual or potential
             presence of “organic pathogens”. This includes any obligation, whether set forth
             by statute, ordinance or order of regulatory or governmental authority associated
             in any way with these activities.

      3.     Supervision, instructions, recommendations, warnings, or advice given or which
             should have been given in connection with 1. or 2. above; or any obligation to
             share damages or repay someone else who must pay damages because of such
             injury or damage.

      This exclusion applies regardless of any other cause, event, happening, occurrence,
      material, product or building component that may have also caused, contributed to or
      aggravated, concurrently or in any sequence, the injury or damage.

      “Organic pathogen” includes but is not limited to any type of mold, mildew, fungi,
      mushrooms, yeasts, dry rot, bacteria, virus, mycotoxin, organisms, or microorganisms of
      any kind including any spores, scent, byproduct or any reproductive body produced by or
      arising out there from.




      KPL 058 (10/12)                                                             Mold Exclusion
                                                                                           EXHIBIT 1
USDC IN/ND case 2:23-cv-00205-PPS-JEM document 4 filed 05/16/23 page 328 of 334




 THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT
 CAREFULLY.
 This endorsement modifies insurance provided under the following:

 ERRORS AND OMISSIONS CERTIFICATE

 In consideration of the premium charged, it is understood and agreed that CONDITION I., Territory is
 deleted in its entirety and replaced with the following:

 I.   Territory

      This certificate applies to acts or omissions committed by an Insured anywhere in the world.

 It is further understood and agreed that Section I. INSURING AGREEMENT, Sections B. & C. are
 deleted in their entirety and replaced with the following:

 B. The Underwriter has the right and duty to defend in the Insured's name and on the Insured's
    behalf a claim covered by this certificate if such claim is made or suit is brought in the United
    States of America, its territories or possessions, even if any of the allegations of the claim are
    groundless, false or fraudulent. The Underwriter has the right to appoint counsel and to make such
    investigation and defense of a claim as it deems necessary.

      The Insured, not the Underwriter, will be obligated to assume charge of the investigation and
      defense of any claim where suit is brought outside of the United States of America, its territories or
      possessions. The Underwriter, however, has the right to approve, in advance, in writing, the
      retention of any defense counsel or to participate with the Insured in the choice of arbitrators or
      mediators. The Underwriter also has the right to be kept fully informed, or to have its designated
      representative kept fully informed, by the Insured concerning the conduct of such defense or such
      arbitration or mediation. The Insured will make available to the Underwriter such information and
      access to records as the Underwriter requires.

 C. 1.    The Underwriter will not settle any claim it defends without the written consent of the Named
          Insured. If the Named Insured refuses to consent to a settlement or compromise
          recommended by the Underwriter and acceptable to the claimant, then the Underwriter's limit
          of liability under this certificate will be reduced to the amount of damages for which the claim
          could have been settled plus all claim expenses incurred up to the time the Underwriter
          made its recommendation, which amount will not exceed the remainder of the limit of liability
          specified in Section II. of the certificate.

      2. The Insured will not settle any claim it defends without the Underwriter's written consent.

 All other provisions of this certificate remain unchanged.




 THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
 CERTIFICATE IS WRITTEN.



 KPL 020 (10/12)                                                                       Worldwide Endt


                                                                                             EXHIBIT 1
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THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:


ERRORS AND OMISSIONS CERTIFICATE

The Underwriters will have the right to make, with the written consent of the Named Insured, any settlement of a
claim under this Certificate of Insurance. If the Named Insured refuses to consent to a settlement within the
Certificate of Insurance’s applicable limit of liability that is recommended by the Underwriters and acceptable to
the claimant, then the Underwriters’ limit of liability under this Certificate of Insurance will be reduced as
follows: Underwriters will pay all claims expenses and damages up to the amount of damages for which the claim
could have been settled, plus all claims expenses incurred up to the time Underwriters recommended settlement.
The remaining Limit of Liability shall be reduced by 40%. Thereafter, underwriters shall pay 60% of any
additional claims expenses of damages up to the reduced Limit of Liability and the Named Insured shall pay 40%
of any additional claims expenses or damages up to the reduced Limit of Liability.

All other provisions of this certificate remain unchanged.




THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
IS WRITTEN.




KPL 107 (10/12)                                                                    Amended Hammer
                                                                                                   EXHIBIT 1
USDC IN/ND case 2:23-cv-00205-PPS-JEM document 4 filed 05/16/23 page 330 of 334




    THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT
    CAREFULLY.
    This endorsement modifies insurance provided under the following:

    ERRORS AND OMISSIONS CERTIFICATE


    In consideration of the premium charged it is hereby understood and agreed that III.
    Definitions, Property Damages; is deleted and replaced with the following:
    Property damage means:

    1. Physical Injury to tangible property, including all resulting loss of use of that
       property; or

    2. Loss of use of tangible property that is not physically injured; or
    3. Clean-up costs.


    All other provisions of this certificate remain unchanged.




    KPL 10 82                                                                  Manuscript #1
                                                                                      EXHIBIT 1
USDC IN/ND case 2:23-cv-00205-PPS-JEM document 4 filed 05/16/23 page 331 of 334




 THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT
 CAREFULLY.
 This endorsement modifies insurance provided under the following:

 ERRORS AND OMISSIONS CERTIFICATE


 Exclusion A is deleted and replaced with the following:

    A.       Based on or arising out of any dishonest, intentionally wrongful, fraudulent, criminal or mali-
             cious act or omission by an Insured. This exclusion shall not apply unless a judgment or
             other final adjudication, regulatory ruling or legal admission establishes such acts or omis-
             sions.

 All other provisions of this certificate remain unchanged.




 KPL 10 83                                                                        Manuscript #2
                                                                                             EXHIBIT 1
USDC IN/ND case 2:23-cv-00205-PPS-JEM document 4 filed 05/16/23 page 332 of 334




   THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT
   CAREFULLY.
   This endorsement modifies insurance provided under the following:

   ERRORS AND OMISSIONS CERTIFICATE


   Exclusion H is deleted and replaced with the following:

   H. Based on or arising out of liability of others assumed by the Insured under any contract or
      agreement, unless such liability would have attached to the Insured even in the absence of
      such contract or agreement; However this exclusion does not apply to the liability of others
      assumed under any written contract or agreement provided such liability arises out of Pro-
      fessional Services.


   All other provisions of this certificate remain unchanged.




   KPL 10 84                                                                    Manuscript #3
                                                                                          EXHIBIT 1
USDC IN/ND case 2:23-cv-00205-PPS-JEM document 4 filed 05/16/23 page 333 of 334




THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

ERRORS AND OMISSIONS CERTIFICATE

In consideration of the premium charged, it is understood and agreed that EXCLUSION B. of this certificate is
deleted in its entirety and replaced with the following:

B. Based on or arising out of bodily injury or property damage unless the claim results from an act or
   omission committed by the Insured in the performance of professional services and there is no other
   certificate applicable to such claim.

It is further understood and agreed that the following EXCLUSIONS are added to this certificate:

Based on or arising out of the ownership, maintenance, operation, use, entrustment to others, loading, or
unloading of any motor vehicle, aircraft or watercraft, operated, rented or loaned to any Insured;

Based on or arising out of any act or omission for which any Insured could be held liable under any workers
compensation, unemployment compensation or disability benefits law or under any similar law;

The Named Insured as a condition precedent to the obligations of the Underwriters under this certificate agrees
and warrants that comprehensive general liability insurance, including products/completed operations coverage
and premises/operations liability coverage, covering property damage in the same amount as stated in Item 4. in
the Declarations of this certificate applying to the Named Insured's operations will be kept in force during this
certificate period.

All other provisions of this certificate remain unchanged.




THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
CERTIFICATE IS WRITTEN.




KPL 10 85                                                                        Manuscript #4
                                                                                                 EXHIBIT 1
USDC IN/ND case 2:23-cv-00205-PPS-JEM document 4 filed 05/16/23 page 334 of 334




THIS ENDORSEMENT CHANGES THE CERTIFICATE.                                       PLEASE READ IT
CAREFULLY.
This endorsement modifies insurance provided under the following:

ERRORS AND OMISSIONS CERTIFICATE

In consideration of the premium charged, it is understood and agreed that under Section V.
    Conditions, Paragraph H, Cancellation/Non-renewal, Item #2 of the certificate Form(KPL 001
    (10/12)) is amended to provide Sixty (60) Day’s Notice of Cancellation (except for non-payment of
    premium), by registered or certified mail.

It is further understood and agreed that:

       (1)        the certificate shall be automatically renewable upon expiration, subject to current
                  rates, except upon sixty (60) day’s written notice by registered or certified mail to the
                  Insured;



All other provisions of this certificate remain unchanged.




THIS ENDORSEMENT MUST BE ATTACHED TO A CHANGE ENDORSEMENT WHEN ISSUED AFTER THE
CERTIFICATE IS WRITTEN.




KPL 11 11                                                                        Manuscript
                                                                                              EXHIBIT 1
